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                                                                                    17-132
                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF RHODE ISLAND
______________________________________________
Funds Chairman, James J. White; Funds Treasurers, Stephen
A. Cardi, Michael A. Gammino, III, and Henry Sherlock; THE
IUOE LOCAL 57 HEALTH AND WELFARE FUND, Gregory E.
Olson and Michael D’Ambra, Trustees; THE IUOE LOCAL 57
PENSION FUND, Edwin L. Sullivan, Jr. and Antonio B. Cardi,
Trustees; THE IUOE LOCAL 57 ANNUITY FUND, Timothy E.
Quillen and Antonio B. Cardi, Trustees; THE IUOE LOCAL 57
LEGAL SERVICE FUND, Gregory E. Olson and Stephen P. Lynch,
Trustees; THE IUOE LOCAL 57 APPRENTICESHIP FUND,
Timothy E. Quillen and Brad Bilodeau, Trustees; THE IUOE
LOCAL 57 UNION ADMINISTRATION FUND, Timothy E. Quillen,
Trustee; THE IUOE LOCAL 57 POLITICAL ACTION AND
EDUCATION FUND, Timothy E. Quillen, Trustee; THE IUOE
LOCAL 57 INDUSTRY ADVANCEMENT FUND, Michael A.
Gammino III, Trustee; and THE IUOE LOCAL 57

                       Plaintiffs,
       v.                                                                C.A. No. 1:17-CV-00582
NEW ENGLAND BUILDING & BRIDGE CO.
                    Defendant.
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                                      DISMISSAL STIPULATION

       The parties agree that the above-captioned matter is hereby dismissed with prejudice.

       Plaintiffs,                                    Defendant,
       By their attorney,                             By its attorney,

       /s/ Ryan C. Hurley                             /s/ Jackson C. Parmenter
       __________________________                     ________________________________
       Ryan C. Hurley (7539)                          Jackson C. Parmenter (8396)
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